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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSSETTS




  ESTADOS UNIDOS MEXICANOS,                         Civil Action No. 1:21-cv-11269
                 Plaintiff,

       v.                                           NOTICE OF VOLUNTARY
                                                    DISMISSAL WITHOUT PREJUDICE
                                                    OF DEFENDANTS BERETTA
  SMITH & WESSON BRANDS, INC., et al.,              HOLDING S.P.A. AND GLOCK
                Defendants.                         GES.M.B.H.




Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Estados Unidos Mexicanos,

by and through its undersigned counsel, hereby voluntarily dismisses from this action without

prejudice defendants Beretta Holding S.p.A. and Glock Ges.m.b.H.



Dated: December 31, 2021                                   Respectfully submitted,

s/ Steve D. Shadowen                                       s/ Jonathan E. Lowy
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2021, the foregoing document was served upon

all counsel of record through the Court’s electronic filing service.

                                                         Respectfully submitted,

                                                         /s/ Steve D. Shadowen
                                                         Steve D. Shadowen
